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Case 1:07-cv-01080-LJO-GSA Document 76

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Attomeys for Plaintiff, Roger McIntosh
dba McIntosh & Associates

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION

ROGER McINTOSH,
Plaintiff,
v.

NORTHERN CALIFORNIA UNIVERSAL
ENTERPRISES COMPANY, a Califomia
corporation; LOTUS DEVELOPMENTS,
LLP; THE CITY OF WASCO, a municipal
corporation; DEWALT CM, INC., a
Califormia corporation also doing business as
DEWALT CORPORATION; DENNIS W.
DE WALT, INC., a California corporation
also doing business as DEWALT
CORPORATION; and DOES 1 through 10,
inclusive,

Defendants.

Case No. 1:07-CV-01080-LJO-GSA

THIRD AMENDED COMPLAINT FOR
COPYRIGHT INFRINGEMENT; DEMAND
FOR JURY TRIAL

For his complaint against Northern Califomia Universal Enterprises Company

("Universal") Lotus Developments, LLP ("Lotus"), the City of Wasco ("Wasco"), DeWalt CM, Inc.,

also doing business as DeWalt Corporation, and Dennis W. De Walt, Inc., also doing business as

DeWalt Corporation (collectively "DeWalt") (all defendants referred to collectively as,

“Defendants"), Roger McIntosh dba McIntosh & Associates ("McIntosh") alleges:

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THIRD AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT; DEMAND FOR JURY TRIAL

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NATURE OF THE ACTION

1, This is an action to redress the infringement of Mclntosh’s registered
copyrights. Universal, Lotus and Wasco have created a residential subdivision by copying and using
MclIntosh’s copyrighted works and employing a tangible embodiment of the landscape and
subdivision design McIntosh conceived and created and that is the subject of Copyright Registration
Certificate No. VAU-721-180.

PARTIES AND OTHER IMPORTANT PERSONS

2. Plaintiff Roger McIntosh is a civil engineer doing business as McIntosh &
Associates and Associates, a sole proprietorship with its principal place of business at 2001 Wheelan
Court, Bakersfield, CA 93309.

3. Defendant Northern Califomia Universal Enterprises Company, a California
corporation with an address at 2099 Fortune Drive, San Jose, California 95131, started as a land
development company in 1980 and is now a builder in California’s Central Valley. On information
and belief, Joseph Wu is the founder and head of Northern California Universal Enterprises
Company.

4. Defendant Lotus Developments is a California Limited Partnership with an
address at 300 B Street, Turlock, CA 95380. On information and belief, Joseph Wu is also the
founder and head of Lotus Developments.

5. Defendant City of Wasco is a municipal corporation formed and organized
under the laws of the State of California with an address at 746 Eighth Street, Wasco, CA 93280.

6. The true names and capacities of defendants Does 1 through 10 inclusive are
unknown to plaintiff, who therefore sues said defendants by such fictitious names. Plaintiff is
informed and believes and thereon alleges that each of the defendants herein designated as a Doe is
responsible in some manner for the events and happenings herein referred to and caused injuries
proximately thereby as hereinafter alleged. Plaintiff is informed and believes and thereon alleges

that at all times herein mentioned, each of the defendants was the agent, servant and employee of

each of the remaining defendants, and at all times herein mentioned, each was acting within the

purpose and scope of said agency and employment. Plaintiff is further informed and believes and

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THIRD AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT, DEMAND FOR JURY TRIAL

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thereon alleges that at all times herein mentioned, each of the defendants’ employees was the agent,
servant and employee of each employee’s respective employer, that at all times herein mentioned,
each employee was acting within the purpose and scope of said agency and employment, and that
each defendant has ratified and approved the acts of its agents and employees.

7. The Legacy Group, referred to throughout, is not a defendant in this action
and no longer exists. The Legacy Group was a land development company originally involved in

the development of the property that is the subject of this action.
JURISDICTION AND VENUE

8. This court has subject matter jurisdiction over the claims in this action
pursuant to 28 U.S.C. section 1331, 28 U.S.C. section 1338{a) through (b) and 28 U.S.C.
section 1367,
9, Venue in this judicial district is proper under 28 U.S.C. section 1391(b).
FACTUAL BACKGROUND
McINTOSH & ASSOCIATES

10. For more than 34 years, Roger McIntosh has been engaged in urban planning,
specifically the design of residential subdivisions in community spaces throughout California. In
1980, Mr. McIntosh and Eugene Martin founded Martin-McIntosh Land Surveying.

11. Over the last 27 years, the firm has expanded to offer an array of land-
planning services from civil engineering and landscape architecture to construction management
throughout Central and Southern Califormia, Arizona and Nevada.

12. On May 3, 1999, Roger McIntosh bought out his partner, Mr. Martin, and
Martin-McIntosh became McIntosh & Associates. Pursuant to the buy-out agreement, the rights and
all works created up to that point by Martin-McIntosh were assigned to Roger McIntosh.

13. MelIntosh & Associates provides all types of civil engineering services,
specializing in site planning for private developments, residential developments and public works
projects, including infrastructure, subdivision design and oil field facilities.

14. McIntosh & Associates also offers land surveying services, from boundary
surveys to geodetic control surveys.

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THIRD AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT, DEMAND FOR JURY TRIAL

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CONTRACT WITH THE LEGACY GROUP

15. Inor about 1992, McIntosh contracted with the Legacy Group to design and
supervise the private development and construction of a subdivision called the Valley Rose Estates
Project (the "Subdivision") on a parcel of land owned by the Legacy Group.

16. Specifically, McIntosh contracted to (1) develop the subdivision’s master
plans for water, sewer and drainage systems; (2) develop a phase traffic and circulation plan;
(3) determine boundaries; (4) develop a tentative tract map for the Subdivision; and (5) develop
landscape design unique to the Subdivision.

17. According to the contract between McIntosh and the Legacy Group, all work
product McIntosh created for the Subdivision remained his property and McIntosh retained the right
to use the plans without the Legacy Group’s consent, including but not limited to McIntosh’s designs
and technical drawings.

18. In addition, the Legacy Group agreed that MclIntosh’s designs and technical
drawings were being created exclusively for the Legacy Group and could only be used by the Legacy
Group on the Valley Rose Estates project. .

19. The contract between McIntosh and the Legacy Group also established that
the agreement between the parties could not be assigned without the written consent of the other
party.

20, The Legacy Group had an agreement with the City of Wasco wherein the City
would pay for the Subdivision project with bond anticipation notes. The Legacy Group was to pay
McIntosh and the contractor from the money it received from the City of Wasco.

21. According to the agreement between Wasco and the Legacy Group, the
development agreement expired in 2002 because the improvements were not completed.

22. The tentative map for the Valley Rose Estates subdivision, Tract No. 5472,

expired in 2001.
THE SUBDIVISION PLANS
23. In accordance with his obligations under the Legacy Group contract,

McIntosh designed the overall layout of the Subdivision, as well as the division of the individual’

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THIRD AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT; DEMAND FOR JURY TRIAL

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plots and common spaces. McIntosh also created landscape designs for the Subdivision. McIntosh’s
subdivision and landscape designs are depicted in technical drawings ("The Plans") that are the
subject of Copyright Registration Certificate No. VAU-721-180, a true and correct copy of which
is attached as Exhibit "A."

24. McIntosh is the sole author of the subdivision and landscape designs
embodied in the technical drawings.

. 25. MelIntosh is the sole owner of the copyright and the technical drawings. (See
Exhibit "A," Copyright Registration Certificate No. VAU-721-180.)
INITIAL CONSTRUCTION OF THE SUBDIVISION

26. In 1993, McIntosh submitted the Plans to the City of Wasco in order to obtain
a building permit to commence construction on the Subdivision. The City of Wasco subsequently
approved the Plans.

27. Construction of the Subdivision commenced after the City of Wasco approved
the Plans. Several different contractors worked on the construction of the Subdivision, according
to McIntosh’s Plans. McIntosh supervised construction of the Subdivision to ensure that the Plans
were properly implemented.

28. In 1994, the bottom dropped out of the real estate market and the City of
Wasco’s bond anticipation notes lost their value. The City was no longer able to pay the Legacy
Group for the construction on the Subdivision. Consequently, construction on the Subdivision

ceased. The Legacy Group subsequently declared bankruptcy and the City of Wasco purchased the
Subdivision at a tax sale.

DEFENDANTS’ INFRINGEMENT OF MCINTOSH’ PLANS

29. On information and belief, in or about December 2004, of defendants Lotus
and Universal purchased the Subdivision, with all the improvements, from the City of Wasco.

30. In or about late 2005 or early 2006, Mr. Wu of Northern California Universal
Enterprises Company and Lotus Developments contacted McIntosh and asked if he could use
McIntosh’s Plans to finish the Subdivision. McIntosh told Mr. Wu that he could use the plans if he
paid for them. Mr. Wu refused to pay the price proposed by McIntosh for use of the Plans.

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THIRD AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT, DEMAND FOR JURY TRIAL

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31. | Oninformation and belief, in or about October 2006, without paying McIntosh
for his Plans, defendants commenced construction on the Subdivision.

32. In or about November 2006, a Wasco city employee told McIntosh that
Mr. Wu was using McIntosh’s plans to complete the Subdivision.

33. On information and belief, Defendants’ construction of the Subdivision is
based on landscape and subdivision designs substantially similar to the subdivision and landscape
design conceived and created by McIntosh that is represented in the plans and that is the subject of
Copynght Registration Certificate No. VAU-721-180.

34. A point-by-point, feature-by-feature comparison between the subdivision
constructed by Defendants and the Plans authored by McIntosh shows that the prominent features
of the subdivision are substantially similar to the Plans, such that the overall look and feel of the
design representative of the plans is embodied in the subdivision.

35. Specifically, a feature-by-feature comparison between the subdivision and the
Plans reveals substantial similarity in, among other things, the streets, curbs and gutters, utilities,
walls, fences, entry monuments, street lights, landscaping, and reference lines, annotations, and
reference numbering.

36, On information and belief, Defendants, without permission or license,
obtained and copied the Plans and are using them or have used them to complete the subdivision.

Defendants have not paid McIntosh for use of the Plans.
FIRST CAUSE OF ACTION

COPYRIGHT INFRINGEMENT OF TECHNICAL DRAWINGS

37. McIntosh incorporates by reference-and re-alleges paragraphs 1 through 36
above.

38. Plaintiff has in all respects complied with the requirements of the copyright
laws of the United States with respect to the Plans.

39. The copying of the Plans by defendants constitutes infringement of
MclIntosh’s registered copyright and the technical drawings depicted in the Plans, in violation of the
Copyright Act, resulting in harm and injury to McIntosh.

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’ THIRD AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT, DEMAND FOR JURY TRIAL

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40. As aresult of the above-described wrongful acts of defendants in creating
infringing copies of the Plans, McIntosh’s copyright of the Plans has been infringed and he is entitled
to recover actual damages and that portion of the profits realized by Defendants from the use and
commercial exploitation of the infringing copies attributable to the unlawful use by Defendants of
the copyrighted material contained in the plans that is the subject of Copyright Registration
Certificate No. VAU-721-180.

SECOND CAUSE OF ACTION

CONTRIBUTORY COPYRIGHT
INFRINGEMENT OF TECHNICAL DRAWINGS

41. | MeIntosh incorporates by reference and re-alleges paragraphs I through 40
above.

42. At all times during the construction of the Valley Rose Estates subdivision,
the City of Wasco controlled the development of the Valley Rose Estates subdivision project.

43. Asaresult of the construction of the Valley Rose Estates subdivision and the
unlawful use of Mclntosh’s copyrighted plans, Wasco obtained a direct financial benefit.

. 44. __ As a result of its actions, the City of Wasco knowingly and materially
contributed to and induced the infringing conduct of Lotus and Universal.

45. | Defendants also induced infringement through their copying, distribution, and
continued recording of the Plans.

46. Asaresult ofthe above-described wrongful acts of defendants in contributing
to the infringement and infringing use of the Plans, McIntosh’s copyright in the Plans has been
infringed and he is entitled to recover actual damages and that portion of the profits realized by
Defendants from the use of and commercial exploitation of the infringing copies attributable to the
unlawful use by Defendants of the copyrighted material contained in the Plans that is the subject of
Copyright Registration Certificate No. VAU-721-180.

DEMAND/PRAYER FOR RELIEF

WHEREFORE, McIntosh requests that this Court enter a judgment against the

defendants that provides for:

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THIRD AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT, DEMAND FOR JURY TRIAL

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(a) A declaration that the defendants have willfully infringed McIntosh’s
exclusive rights in the copyrighted material contained in the Plans that is the subject of Copyright
Registration Certificate No. VAU-721-180;

(b) Apreliminary and thereafter permanent injunction against defendants and all
persons acting in concert or participation with them or persons acting or purporting to act on their
behalf, including but not limited to their officers, directors, stockholders, partners, owners, agents,
representatives, employees, attorneys, successors and assigns and any and all other persons acting
in concert or privity with them, directing defendants to:

(i) ‘ Cease and desist from infringing plaintiff's copyright in the Plans;

(ii) Destroy all copies of the plans, including any and all drawings, models,
advertisements, catalogues and other materials based on or derived from the Plans; and

(i) Take all steps necessary to remove any structures or design elements
that have been copied from the Plans or built based on the Plans;

(c) The impounding of all copies of the Plans and any other materials derived
from the Plans in whole or in part, incorporating any element of the Plans, and al] means by which
such copies may be reproduced and in order providing for the destruction or other reasonable
disposition of materials containing copies of the Plans of the designs embodied in the Plans that have
been used in violation of McIntosh’s exclusive rights and all means by which such copies may be
produced; and in the event that certain such copies are no longer under the control of defendants,
provide the name, address and relevant contact information of those believed to be in possession and |
control of such materials;

{d) The filing with this Court and the service on McIntosh within thirty (30) days
following service of the injunction order, a report under oath and in writing, setting forth in detail
the manner and form in which defendants have complied with the injunction;

(e) The awarding to plaintiff McIntosh of damages in an amount equal to the
actual damages suffered by McIntosh as a result of the infringement and that portion of the profits
earned by Defendants from the creation and commercial exploitation of the copied Plans and the

infringing building that is attributable to the infringement, and not taken into account in computing

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THIRD AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT, DEMAND FOR JURY TRIAL

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1 | McIntosh’s actual damages, including an award of the reasonable attomey fees, costs and
2 || disbursements incurred by McIntosh in connection with this action;
3 (f} Altematively, the awarding to plaintiff McIntosh the maximum statutory

4 || damages permitted under the Copyright Act with respect to each infringement, or for such other

5 || amount as may be proper pursuant to 17 U.S.C. section 504(c), including an award of reasonable

6 || attorney fees, costs, and disbursements incurred by McIntosh in connection with this action; and
7 (g) | The granting to McIntosh of such other and further relief as this Court may
8 || deem just and proper.
9 JURY TRIAL DEMAND

10 McIntosh demands a trial by jury on all issues triable of right by a jury.

11 || DATED: April 23, 2009 BORTON PETRINI, LLP

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By: /s/ Jefirey A. Travis
14 Jeffrey A. Travis, Attorneys for Plaintiff, Roger
McIntosh dba McIntosh & Associates

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PROOF OF SERVICE
- (FRCP No. 5(b)(@)(E))

STATE OF CALIFORNIA, COUNTY OF KERN

I, Vanessa J. Claridge, declare:

| am a citizen of the United States. I am employed in the County of Kem, State of
California. I am over the age of 18 and not a party to the within action; my business address
is 5060 California Avenue, Suite 700, Bakersfield, California 93309.

On April 23, 2009, I served the foregoing document described as THIRD
AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT; DEMAND FOR
JURY TRIAL on the other party(ies) in this action as follows:

Steven John Hassing, Esq. Attomeys for Attorneys for Defendants,

Law Offices of Steven J. Hassing Northern California Universal Enterprises

425 Calabria Court Company and Lotus Developments

Roseville, CA 95747 Tel: 916/677-1776

email address: stevehassing@yahoo.com Fax: 916/677-1770

Chaka Okadigbo Attorneys for Defendant, City of Wasco

Garcia Calderon Ruiz, LLP

500 South Grand Ave Suite 1100 Tel: 213/347-0210

Los Angeles, CA 90071 Fax: 213-347-0216

email address: cokadigbo@gcrlegal.com

William L. Alexander, Esq. Attomeys for Defendant, DeWalt CM, Inc.

Alexander & Associates

1925 "G" Street Tel: 661/316-7888

Bakersfield, CA 93301 Fax: 661/316-7890

email address: walexander@alexander-law.com

& BY ELECTRONIC SERVICE: Pursuant to Fed. R. Civ. P. 5(b)(2)(E) and Local Court
Rule(s), the foregoing document will be served by the court via CM/ECF. Pursuant to the
CM/ECF docket for this case proceeding the following person(s) are on the Electronic Mail
Notice List to receive ECF transmission at the email address(es) indicated below:

L] BY MAIL: As follows: I am "readily familiar” with the firm's practice of collection and

processing correspondence for mailing. Under that practice it would be deposited with U.S.
postal service on that same day with postage thereon fully prepaid at , Califomia in the
ordinary course of business. I am aware that on motion of the party served, service is
presumed invalid if postal cancellation date or postage meter date is more than one day after
date of deposit for mailing in affidavit.

Executed on April 23, 2009, at Bakersfield, California.
I declare that I am employed in the office of a member of the bar of this court at

whose direction the service was made.

Vanessa J. Claridge is/ Vanessa J. Claridge

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Proof of Service

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EXHIBIT A
